             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CIVIL CASE NO. 1:23-cv-00046-MR-WCM


ALWINA FYKES, individually, on     )
her own behalf and on behalf of    )
all others similarly situated,     )
                                   )
                       Plaintiff,  )
                                   )
                 vs.               )           ORDER
                                   )
HALLELUJAH ACRES, Inc.,            )
a North Carolina corporation; and  )
                                   )
DOES 1 – 10,                       )
                                   )
                       Defendants. )
________________________________ )

     THIS MATTER is before the Court sua sponte.

     On May 1, 2024, the Court ordered Alwina Fykes (“Plaintiff”) to show

good cause why this matter should not be dismissed for her failure to

prosecute because more than thirty days had passed since the discovery

deadline and Plaintiff had not taken further action. [See Doc. 12].

     On May 15, 2024, Plaintiff responded to the Court’s Show Cause

Order, stating that she has been actively pursuing discovery from Defendant

Hallelujah Acres, Inc. (“Hallelujah Acres”), and third parties, Google, LLC,

and 317 Labs, Inc. d/b/a Emotive (“Emotive”). [Doc. 13 at 1]. However,



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Plaintiff states that neither Hallelujah Acres, its president Paul Malkmus, nor

Emotive have responded to her discovery requests. [Id. at 2]. Thus, she

requests that the Court extend the discovery deadline. [Id. at 3].

      Plaintiff further explained that to obtain discovery from Emotive she

needs to file a motion to compel in the United States District Court for the

Central District of California, but under that court’s local rules, she cannot do

so until she meets and confers with Emotive, or, alternatively, until a period

set by the local rules passes. [Id. at 2]. Plaintiff represents that Emotive has

not responded to her efforts to meet and confer, but she believes that

discovery will ultimately prove fruitful. [Id.].

      In light of Plaintiff’s response, the Show Cause Order will be

discharged and the discovery deadline in this matter will be extended through

and including ninety (90) days from the date of the entry of this Order.

However, Plaintiff shall file regular status reports every thirty (30) days

regarding her efforts to obtain discovery.         Moreover, absent Plaintiff’s

demonstration of extenuating circumstances, the Court does not anticipate

that additional extensions of the discovery deadline will be forthcoming.

      IT IS, THEREFORE, ORDERED that:

             (1)    the Show Cause Order [Doc. 12] is DISCHARGED;




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      (2)   the discovery deadline is extended through and including

            ninety (90) days from the date of the entry of this Order;

            and

      (3)   Plaintiff shall file regular status reports every thirty (30)

            days regarding her efforts to obtain discovery.

IT IS SO ORDERED.
                             Signed: May 25, 2024




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